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                                 IN THE
                     UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT

UNITED STATES OF AMERICA,
             Plaintiff-Appellant,

v.                                                                         No. 13-20265

ASHLEY NICOLE RICHARDS &
    BRENT JUSTICE,
             Defendants-Appellees.

                 BRENT JUSTICE’S OPPOSITION TO
           GOVERNMENT’S MOTION TO SUPPLEMENT RECORD

       Appellee Brent Justice opposes the Government’s Motion to Supplement

Record with videos he and Ms. Richards are charged with creating and/or distributing

because: (1) the government did not attempt to introduce these videos into the record

in the district court; (2) the videos were not considered by the district court in reaching

the decision now under review; and (3) the videos are irrelevant to the purely legal

issue facing this Court.

       On April 17, 2013, the district court dismissed five of the counts pending

against appellees Ashley Richards and Brent Justice after thorough briefing from all

parties. The dismissal was based upon the court’s finding that the federal “animal

crush video” statute, 18 U.S.C. § 48, abridges the freedom of speech protected by the

First Amendment. The district court made no factual findings regarding the specific


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materials underlying the charges against Ms. Richards and Mr. Justice; its decision

was a purely legal one. And, in the district court, the government appeared to

recognize this – it did not ask the district court to consider the specific videos at issue

in making its ruling, and it did not seek to introduce those videos into the record.

      The government’s point that images from these videos were introduced at the

detention hearing in this matter and that the content of the videos was discussed at that

hearing is irrelevant. See Gov’t Motion at 3. Neither Ms. Richards nor Mr. Justice

has appealed the district court’s detention decision; the sole matter before this Court

is the government’s appeal from the district court’s order granting Appellees’ Motion

to Dismiss.

      That an amicus lodged a sample animal crush video with the Supreme Court in

the course of the United States v. Stevens litigation is also irrelevant. Gov’t Motion

at 2 (citing United States v. Stevens, 130 S. Ct. 1577, 1598 (2010) (Alito, J.,

dissenting)). Nothing in Stevens indicates that this video in any way assisted the

Court’s decision making. Moreover, that it was left to an amicus to introduce this

video to the Court shows that the parties to that litigation (including the government)

felt no need to introduce factual matters into the purely legal question presented by the

defendant’s motion to dismiss the indictment.




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      This Court has routinely held that, even though it has the discretion to do so,

it will “generally decline[] to supplement the appellate record with materials not

presented to the district court . . . .” Board of Miss. Levee Comm’rs v. United States

Envtl. Prot. Agency, 674 F.3d 409, 417 n.4 (5th Cir. 2012); see also Ghali v. United

States, 455 Fed. App’x 472, 476 (5th Cir. 2011) (unpublished). Moreover, the

government fails to even contend that these videos are relevant. The most it can

hypothesize is that “the Court might find it helpful to view the animal crush videos in

this case” – although it does not state why.

      The government has provided no reason to deviate from this Court’s “general

rule that a party may not add documents to the record that were not presented to the

district court.” Board of Miss. Levee Comm’rs, 674 F.3d at 417. Mr. Justice

respectfully requests that the Court deny the government’s motion.

                                        Respectfully submitted,

                                        MARJORIE A. MEYERS
                                        Federal Public Defender

                                        s/ Philip G. Gallagher
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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 26, 2013, the foregoing motion was served upon

Department of Justice Attorney John M. Pellettieri and Assistant United States

Attorney Renata A. Gowie, counsel for appellant, and Joyce A. Raynor, counsel for

appellee Ashley Nicole Richards, by notice of electronic filing with the Fifth Circuit

CM/ECF system.


                                       s/ Philip G. Gallagher
                                       PHILIP GEORGE GALLAGHER




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